                  IN THE UNITED STATES DISTRICT COURT FOR
                     THE EASTERN DISTRICT OF TENNESSEE
                             KNOXVILLE DIVISION


MICHAEL LYNN GRAY, et al.,          )
                                    )
             Plaintiffs,            )
                                    )
v.                                  )                   No. 3:03-CV-689
                                    )
CAMPBELL COUNTY, TENNESSEE, et al., )
                                    )
             Defendants.            )

                   JUDGMENT ON DECISION BY THE COURT

              This case came before the court on the parties’ proposed Private Settlement

Agreement (“PSA”). [Doc. 35]. The Honorable R. Leon Jordan, United States District

Judge, having approved, adopted, and incorporated the PSA,

              It is ORDERED and ADJUDGED

              that plaintiff Michael Lynn Gray shall take nothing, and plaintiff Jennifer

Carroll shall recover from defendants the sum of $500.00 along with attorney fees, expenses,

and future compliance monitoring costs as set forth in the PSA. This action is DISMISSED.

              Dated at Knoxville, Tennessee, this 8th day of May, 2006.



                                                  /s/ Patricia L. McNutt
                                                 PATRICIA L. McNUTT
                                                  CLERK OF COURT




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